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Patrick J. Geile ISB #6975
Chapter 7 Bankruptcy Trustee
PO Box 925
Meridian, ID 83680
Telephone: (208) 947-1575
E-mail: pgeile@foleyfreeman.com


                          UNITED STATES BANKRUPTCY COURT

                                      DISTRICT OF IDAHO

  In Re:                                                       Case No. 21-00106-NGH

  JORDAN F. TAPANGCO                                           Chapter 7

        Debtor.


NOTICE OF MOTION FOR SUBSTANTIVE CONSOLIDATION APPLICATION FOR
AN ORDER APPROVING EMPLOYMENT OF PROFESSIONAL REALTOR AND
OPPORTUNITY TO OBJECT AND FOR A HEARING

No Objection. The Court may consider this request for an order without further notice or hearing
unless a party in interest files an objection within 28 days of the date of service of this notice.

If an objection is not filed within the time permitted, the Court may consider that there is no
opposition to the granting of the requested relief and may grant the relief without further notice or
hearing.

Objection. Any objection shall set out the legal and/or factual basis for the objection. A copy of the
objection shall be served on the movant.

Hearing on Objection. The objecting party shall also contact the Court’s calendar clerk to schedule
a hearing on the objection and file a separate notice of hearing.


        Comes now the Trustee moves this Court to consolidate the Bankruptcy Estate of Jordan

Tapangco with an entity owned in its entirety by Mr. Tapangco, Poke Vibes, LLC (“entity”).

                          PROCEDURAL AND FACTUAL BACKGROUND

        1.      That Poke Vibes, LLC was created on April 15th, 2020 and was dissolved on July

14th, 2021.



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       2.       That entity functioned a restaurant in the Boise area and was fully owned by the

Debtor, Jordan Tapangco. That entity owned certain restaurant equipment which was sold by that

entity through auction and resulted in funds of approximately $4,800.

       3.       That the Creditors of the business are all included in the Debtor’s bankruptcy

schedules and there are no Creditors of the entity which are not included in the bankruptcy.

       4.       Mr. Tapangco filed for bankruptcy on February 24th, 2021 and the first 341 was

held on March 25th, 2021, with a conclusion of 341 on April 29th, 2021. The claims bar date has

run July 29th, 2021 with the Government bars date running August 23rd, 2021. There is

approximately $35,274.84 of allowed claims, the largest priority claim being from the Idaho State

Tax Commission in the amount of $20,675.73. The second largest claim is from the Internal

Revenue Service in the amount of $3,430.99.

       5.       The Debtor is in agreement that he and the entity can be consolidated and that the

Creditors of both can be treated as one.

                                           LEGAL ARGUMENT

       “Substantive consolidation is an uncodified, equitable doctrine allowing the bankruptcy

court, for purposes of the bankruptcy, to ‘combine the assets and liabilities of separate and

distinct—but related—legal entities into a single pool and treat them as though they belong to a

single entity.’” In re Aroonsakool, 2014 WL 1273696 *8 (B.A.P. 9th Cir. 2014), quoting In re

Bonham, 229 F.3d 750, 764 (9th Cir. 2000

       No uniform guideline for determining when to order substantive consolidation has

emerged. Rather, only through a searching review of the record, on a case-by-case basis, can a

court ensure that substantive consolidation effects its sole aim: fairness to all creditors. Id.

(citations omitted).




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        This Court previously described these two factors as “two overarching factors” that were

“distilled” from several other factors. Gugino v. Clarks’ Crystal Springs Ranch, LLC (In re

Clark), 525 B.R. 107, 127-28 (Bankr. D. Idaho, 2014). “In either case, the bankruptcy court must

in essence determine that the assets of all of the consolidated parties are substantially the same.”

In re Bonham. at 771. The consolidated assets create a single fund from which all claims against

the consolidated debtors are satisfied; duplicate and inter-company claims are extinguished; and

the creditors of the consolidated entities are combined for purposes of voting on reorganization

plans. See In re Augie/Restivo, 860 F.2d at 518.

        Here, the trustee is holding assets for both the Debtor and a separate legal entity Poke

Vibes. The relationship of the two entities in this matter hinges on the same pool of creditors

and that it is in the best interest of all creditors to share in the joint pool shared with the assets of

both the Debtor and Poke Vibes.

        There are also practical considerations regarding claims administration. In this case the

Idaho state Tax commission and the IRS both have priority claims. The Idaho State claim is in

the amount of $20,675.73 (Claim 5), and the IRS claim is in the amount of $3,438.99. (Claim 3).

In this case the Trustee is currently holding $13,108.76 in funds to be distributed so there will

not be funds to pay the priority claims in their entirety.

        There is some risk to the Idaho Tax Commission and other Poke Vibes creditors that they

would be able to collect more money if it first collected funds from Poke Vibes in addition to

getting paid from the bankruptcy estate, but that amount is offset by the efficiency of being paid

through a consolidated case.




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                                      CONCLUSION

       Trustee requests an Order Consolidating the Bankruptcy Estate of Jordan Tapangco and

the entity Poke Vibes, LLC.



DATED this 10th day of November, 2021.



                                                  /s/ Patrick J. Geile
                                                  Patrick J. Geile, Chapter 7 Trustee




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                                  CERTIFICATE OF SERVICE
        I hereby certify that on this date as indicated below, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which sent a Notice of Electronic Filing to
the individuals so noted below. I further certify that, on the same date, I have mailed by United
States Postal Service the foregoing document to the following non-EM/ECF Registered
Participant(s) either listed below or on an attached list.

*Electronic Notification
U.S. Trustee
ECF: ustp.region18.bs.ecf@usdoj.gov

Jon R. Wilson
jon@boiselaw.org

 Served by U.S. MAIL

Tapangco, Jordan F
567 North Pringlewood Place
Star, ID 83669

See Attached Matrix

                                                     /s/ Patrick J. Geile
                                                     Date: November 10, 2021




MOTION FOR SUBSTANTIVE CONSOLIDATION - 5
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Label Matrix for local noticing       BoiseDocument           Page 6 of 7            ADP Meridian
0976-1                                U.S. Bankruptcy Court, Suite 400               1851 S Cobalt Point Way
Case 21-00106-NGH                     550 West Fort Street                           Meridian, ID 83642-4465
District of Idaho                     Boise, ID 83724-0101
Boise
Fri Nov 5 15:19:42 MDT 2021
Altus Receivables Management          Amanda Tapangco                                American Northwest Recovery
2400 Veterans Memorial Blvd           567 N. Pringlewood Pl                          Solutions
Suite 300                             Star, ID 83669-5838                            PO Box 735
Kenner, LA 70062-8725                                                                Milltown, MT 59851-0735


Caliber Home Loans                    CapEd FCU                                      CenturyLink
Attn: Cash Operations                 Attn: Bankruptcy                               PO Box 4300
Po Box 24330                          Po Box 570                                     Carol Stream, IL 60197-4300
Oklahoma City, OK 73124-0330          Meridian, ID 83680-0570


CenturyLink                           Daniel Landucci                                Internal Revenue Service
PO Box 91155                          237 N 9th St.                                  PO Box 7317
Seattle, WA 98111-9255                Boise, ID 83702-5710                           Philadelphia, PA 19101-7317



Internal Revenue Service              Jack Trent, CPA                                Karen M Feero
PO Box 7346                           6213 N Cloverdale Rd, #130                     PO Box 493
Philadelphia, PA 19101-7346           Boise, ID 83713-4800                           Valdez, AK 99686-0493



(p)KLARNA INC                         Mark Jaeckel                                   Matthew Dietz
ATTN BANKRUPTCY                       1451 Quartz Way                                3956 NE 7th Ave
PO BOX 8116                           San Jose, CA 95118-1753                        Portland, OR 97212-1133
COLUMBUS OH 43201-0116


McMillian’s Corner, LLC               Mountain America Credit Unio                   Navient
27451 Los Altos, Ste 220              Attn: Bankruptcy                               Attn: Claims Dept
Mission Viejo, CA 92691-6331          Po Box 2331                                    Po Box 9500
                                      Sandy, UT 84091-2331                           Wilkes-Barre, PA 18773-9500


Ocean Beauty Boise                    Our Town of the Treasure                       Paddles Up Poke
4800 Irving St                        Valley                                         13601 W McMillan Rd, Ste 104
Boise, ID 83706-2215                  6700 N Linder Rd, 156A-176                     Boise, ID 83713-2087
                                      Meridian, ID 83646-6606


Paddles Up Poke, LLC                  Paddles Up Ventures                            Poke Vibes, LLC
2397 N 9th St.                        237 N 9th St.                                  13601 W McMillian Rd
Boise, ID 83702                       Boise, ID 83702-5710                           Suite 104
                                                                                     Boise, ID 83713-2087


Promo Shop, Inc.                      Qwest Corporation dba CenturyLink QC           Shamrock Foods Company
2212 W Main St.                       Centurylink, Inc                               1495 N Hickory Ave
Boise, ID 83702-4917                  1025 El Dorado Blvd. (Attn: Legal-BKY)         Meridian, ID 83642-5940
                                      Broomfield, CO 80021-8254
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State Tax Commission                                 TOK Commercial-Boise
                                                          Document         Page 7 of 7                    US Trustee
PO Box 36                                            250 S. 5th, 2nd Floor                                Washington Group Central Plaza
Boise, ID 83722-0036                                 Boise, ID 83702-7296                                 720 Park Blvd, Ste 220
                                                                                                          Boise, ID 83712-7785


Webmarkets, LLC                                      Zion’s National Bank                                 Zion’s National Bank
5598 N Eagle Rd, Ste 101                             P.O. Box 30709                                       P.O. Box 70217
Boise, ID 83713-2707                                 Salt Lake City, UT 84130-0709                        Salt Lake City, UT 84170-0217



(p)ZIONS FIRST NATIONAL BANK                         Jon R Wilson                                         Jordan F Tapangco
LEGAL SERVICES UT ZB11 0877                          Wilson Law Offices, P.C.                             567 North Pringlewood Place
P O BOX 30709                                        4614 Emerald St                                      Star, ID 83669-5838
SALT LAKE CITY UT 84130-0709                         Boise, ID 83706-2003


(p)PATRICK J GEILE
PO BOX 925
MERIDIAN ID 83680-0925




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Klarna, Inc                                          Zions First National Bank                            Patrick John Geile
629 N High St, Ste 300                               Legal Services UT ZB11 0877                          PO Box 925
Columbus, OH 43215                                   P.O. Box 30709                                       Meridian, ID 83680
                                                     Salt Lake City, UT


End of Label Matrix
Mailable recipients      39
Bypassed recipients       0
Total                    39
